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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                   Defendant.


                   GOVERNMENT’S SUPPLEMENTAL FILING
               REGARDING DEFENDANT’S MOTION TO SHOW CAUSE

       The United States of America respectfully submits this supplemental filing regarding the

motion of defendant Concord Management and Consulting LLC to show cause. The purpose of

this supplemental filing is to advise the Court of further steps that the Justice Department

(Department) intends to take with respect to the Special Counsel’s confidential report to the

Attorney General (Report). The government continues to assert that neither the public release of

the report nor the Attorney General’s comments on the report violate Local Criminal Rule 57.7 or

any other authority. Nonetheless, the government provides the information herein in the interests

of full transparency to the Court regarding the further, albeit non-public, dissemination of Volume

I of the Report.

       After the public release of a redacted version of the Report on April 18, 2019, the Justice

Department made available for review by a limited number of Members of Congress and their staff

a copy of the Special Counsel’s Report without certain redactions. This minimally redacted

version of the Report was made available to a limited number of congressional leaders under

conditions that would protect against further dissemination of the minimally redacted Report. The
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minimally redacted Report maintained redactions only for grand jury material, which is protected

from disclosure by Federal Rule of Criminal Procedure 6(e).

       On May 8, 2019, the House Permanent Select Committee on Intelligence (“HPSCI”) issued

a subpoena to the Department for, among other things, the unredacted Report. The Department

recognizes and respects the legitimate oversight interests of the Committee in the federal

government’s counterintelligence and foreign-intelligence matters, and the Department has

advised HPSCI that the Department is prepared to work in good faith to accommodate legitimate

requests of the Committee for information to the extent possible in a manner consistent with

Executive Branch confidentiality interests.

       Consistent with that commitment, the Justice Department has reached an agreement with

HPSCI regarding review of Volume I of the minimally redacted Report. The Department will

make available for review Volume I of the minimally redacted Report in a secure space by HPSCI

Members and a limited number of Committee staff members from each of the majority and

minority. This copy of Volume I of the Report will include in unredacted form information related

to this case that was redacted from the public version of the Report. Members and staff authorized

to review the report will be permitted to take notes, provided those notes are properly secured, and

they will be permitted to discuss the report among themselves. The Department has advised the

Committee that the Department expects the Committee and staff to strictly maintain the

confidentiality of any information contained in the report and to use that information only for

Committee purposes. The Department has also advised the Committee that none of the material

that was redacted in the public version of Volume I—including information related to this case—

may be revealed publicly or to others not authorized by the Department to receive such access

without prior consent of the Department. The government plans to make the minimally redacted



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report available under the same conditions to the members and limited staff of the Senate Select

Committee on Intelligence (SSCI).

       The government believes that this arrangement does not violate Local Criminal Rule 57.7.

By providing minimally redacted copies of Volume I of the report for review by HPSCI and SSCI

Members and limited staff in a secure space, and by further restricting dissemination of the

material, the Department is not “authoriz[ing] the release of information or opinion which a

reasonable person would expect to be disseminated by means of public communication.” Local

Crim. R. 57.7(b)(1).

       For the reasons set forth in the government’s opposition to the defendant’s motion to show

cause, neither the public release of the report nor the Attorney General’s comments on the report

violate Local Criminal Rule 57.7 or any other authority. The Department’s arrangement with

HPSCI and SSCI for review of a minimally redacted version of the report also does not violate

those authorities. Nevertheless, in an abundance of caution and in the interests of transparency to

the Court, the government is advising the Court of its intended course of action. Absent further

guidance from the Court, the Department plans to make this version of the report available for

review beginning on May 28, 2019.

                                      Respectfully submitted,

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Dated: May 22, 2019

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